           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                        CRIMINAL NO. 3:02CR156




UNITED STATES OF AMERICA                  )
                                          )
                                          )
            vs.                           )           ORDER
                                          )
                                          )
DEBBIE ZIMMERMAN                          )
                                          )


      THIS MATTER is before the Court on a letter from Defendant, filed

November 21, 2008,1 which the Court will treat as a motion to amend

judgment. The Government has filed a response in opposition to the relief

sought.

      Although Defendant concedes in her motion that her Judgment

directs her to begin paying restitution during her incarceration, she

contends that this direction is due to “errors made by the Courtroom Clerk,”

and that she should not be required to make any restitution payments 2 until


      1
      The Defendant’s letter is dated September 15, 2008, but was not
postmarked until November 19, 2008.
      2
      At the time Defendant’s Judgment was filed, she owed a $400.00
assessment and $23,938,669.70 in restitution, based on her convictions for


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after her release. Defendant’s Motion, filed November 21, 2008, at 1.

She offers no evidence, however, of these alleged mistakes.

      The Judgment unequivocally states that “payment of the total criminal

monetary penalties shall be due as follows: . . . payment to begin

immediately . . .; or . . . payment in equal monthly installments of $50.00

[t]o commence 60 days after the release from imprisonment[.]” The

Judgment further provides: “Unless the court has expressly ordered

otherwise . . ., if this judgment imposes a period of imprisonment[,]

payment of criminal monetary penalties shall be due during the period of

imprisonment.” Amended Judgment in a Criminal Case, filed August

25, 2005, at 5 (emphasis added).

      As these instructions are perfectly clear, and Defendant has offered

no convincing evidence as to their error, the Court finds that her motion to

amend her Judgment is without merit.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to

amend her Judgment is hereby DENIED.




fraud and conspiracy. Amended Judgment in a Criminal Case, filed
August 25, 2005, at 1, 4.


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                                 Signed: December 9, 2008




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